         Case 1:18-cv-02921-JMF Document 540-1 Filed 11/18/18 Page 1 of 1



(ORDER LIST: 586 U.S.)


                             FRIDAY, NOVEMBER 16, 2018



                                 CERTIORARI GRANTED

18-315         COCHISE CONSULTANCY, ET AL. V. UNITED STATES, EX REL. HUNT

                   The petition for a writ of certiorari is granted.

18-557         IN RE DEPARTMENT OF COMMERCE, ET AL.

                   The petition for a writ of mandamus is treated as a petition

               for a writ of certiorari.    The petition for certiorari is granted.

               Petitioners' brief on the merits is to be filed on or before

               Monday, December 17, 2018.   Respondents' brief on the merits is to

               be filed on or before Thursday, January 17, 2019.   The reply brief

               is to be filed on or before Monday, February 4, 2019.   The case is

               set for oral argument on Tuesday, February 19, 2019.
